
Wright, J.,
delivered the opinion of the Court.
This is a suit by warrant in replevin, before a justice of the peace, issued the 10th of October, 1856. And the only question is, whether the justice had jurisdiction? And we think he had. By the act of 1846, ch. 65, the Circuit Courts alone had jurisdiction of all suits in replevin, however trivial the cause of action. This defect was soon perceived by the Legislature, and remedied by the act of 1851, ch. 32, and jurisdiction conferred on justices of the peace in actions of replevin, where the amount did not exceed $50.
This act is not repealed by the act of 1854, ch. 60, and the jurisdiction of the justice of the peace remains undisturbed. The only object of this last-mentioned act was to so amend the act of 1846, as to authorize the action of replevin to be instituted in the Courts of the county in which the goods and chattels sued for “may *115be found.” It bad reference only to tbe Circuit Courts, and tbe jurisdiction, of justices of tbe peace was not in tbe least affected by it.
Tbe act of 1851 and 1854 may well stand together, and implied repeals are not to be encouraged. 2 Meigs’ Dig., 972—3; Cate v. The State, 3 Sneed, 120.
Affirm tbe, judgment.
